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078919.0347(207)                            RMC:las                                  #397

                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

STATE AUTO PROPERTY AND                   )
CASUALTY INSURANCE COMPANY, )
                                          )
                            Plaintiff,    )
                                          )
                     v.                   )
                                          )
BILLY GOAT CHIP COMPANY LLC, )
a Missouri limited liability company, and )
BILLY GOAT IP LLC, a Delaware             )
limited liability company,                )
                                          )
                            Defendants.   )

                COMPLAINT FOR DECLARATORY JUDGMENT

      Now comes the Plaintiff, State Auto Property and Casualty Insurance Company, by

its attorney, Robert Marc Chemers of Pretzel & Stouffer, Chartered, and for its Complaint

for Declaratory Judgment against the Defendants, Billy Goat Chip Company LLC, a

Missouri limited liability company, and Billy Goat IP LLC, a Delaware limited liability

company, alleges the following:

                                        JURISDICTION

      1.     The jurisdiction of this Court is premised upon 28 U.S.C. § 1332 because there

is complete diversity of citizenship between the parties and the amount in controversy

exceeds the sum of $75,000, exclusive of interest and costs, in this action seeking a

declaration of no insurance coverage.
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                                            VENUE

        2.      Venue is premised upon 28 U.S.C. § 1391 as at least one Defendant is a

resident of this District and the transaction occurred in this District.

                                         THE PARTIES

        3.          State Auto Property and Casualty Insurance Company (hereinafter “State

Auto”) is an Iowa insurance corporation, which maintains its principal place of business in

Columbus, Ohio, and which at all times herein relevant was licensed to and which did

transact insurance business in the State of Illinois and elsewhere.

        4.      Billy Goat Chip Company LLC (hereinafter “BGCC”) is a Missouri limited

liability company with its principal place of business in St. Louis, Missouri. On information

and belief, Brian Roth and Robert Lyons are the members or the managers of the limited

liability company and each is a resident and citizen of the State of Missouri.

        5.      Billy Goat IP LLC (hereinafter “the Claimant”) is a Delaware limited liability

company with its principal place of business in Chicago, Illinois. On information and belief,

the members or managers of the limited liability company are not residents and citizens of

either Iowa or Ohio. The Claimant has been joined herein as a Defendant to the extent that

it is interested.

                                  THE STATE AUTO POLICIES

        6.      State Auto issued its policy of insurance numbered BOP 2866205-00 to BGCC

as named insured. The policy provided for Businessowners Liability Insurance for the


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effective period of February 5, 2016 to February 5, 2017. A certified true and correct copy

of the State Auto primary policy is attached hereto, made a part hereof and is marked as

Pleading Exhibit A.

       7.     State Auto issued its policy of insurance numbered CXS 2135754-00 to BGCC

as named insured. The policy provided for Commercial Umbrella Liability Insurance for the

effective period of February 5, 2016 to February 5, 2017. A certified true and correct copy

of the State Auto umbrella policy is attached hereto, made a part hereof and is marked as

Pleading Exhibit B.

                             THE UNDERLYING LITIGATION

       8.     The Claimant has filed a Complaint For Injunctive Relief against BGCC in the

United States District Court for the Northern District of Illinois, Eastern Division, under

Cause No. 17 C 9154. A true and correct copy of the aforesaid Complaint is attached hereto,

made a part hereof and is marked as Pleading Exhibit C.

       9.     The Claimant seeks damages from BGCC for its alleged trademark

infringement. The Claimant alleges violation of the federal Lanham Act for trademark

infringement (Count I) and unfair competition (Count II). The Claimant also alleges Illinois

state law claims for deceptive trade practices (Count III), statutory consumer fraud (Count

IV), and common law trademark infringement (Count V), all of which more fully appears in

the Claimant’s Complaint, Pleading Exhibit C, attached hereto.




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      10.    In the federal trademark counts, the Claimant alleges in each count concerning

BGCC in ¶¶ 43-46 of Count I and the same allegations in ¶¶ 50-53 of Count II (paragraph

number is the only difference) as follows:

             43.    Defendant’s unauthorized use of THE BILLY GOAT CHIP
                    COMPANY mark in connection with its sale of potato chips,
                    and related goods, is likely to cause, and already has caused,
                    confusion, mistake, or deception among consumers as to the
                    source, quality, affiliation, sponsorship or authenticity of the
                    parties’ goods and/or services–depriving Plaintiff of the
                    goodwill established in its BILLY GOAT Mark.

             44.    On information and belief, Defendant deliberately adopted
                    and/or is using THE BILLY GOAT CHIP COMPANY mark
                    with a bad faith intent to cause consumer confusion and/or trade
                    on the goodwill established by Plaintiff since 1934.

             45.    Defendant’s use of THE BILLY GOAT CHIP COMPANY
                    mark in connection with its sale of potato chips, and related
                    goods, has caused and, unless retrained and enjoined, will
                    continue to cause consumer confusion and irreparable harm,
                    damage and injury to Plaintiff for which Plaintiff has no
                    adequate remedy at law.

             46.    Defendant’s willful and continued use of THE BILLY GOAT
                    CHIP COMPANY mark after multiple requests by Plaintiff to
                    cease all use of the mark makes this case an exceptional case for
                    which an award of Plaintiff’s reasonable attorneys’ fees and
                    costs are warranted.

      11.    In the statutory state law pendent claims, the Claimant alleges in each count

concerning BGCC in ¶¶ 56 and 57 of Count III and ¶¶ 61 and 62 of Count IV as follows:

             56.    Defendant’s unauthorized use of THE BILLY GOAT CHIP
                    COMPANY mark in connection with its sale of potato chips,
                    and related goods, is likely to cause, and already has caused
                    confusion, mistake, or deception among consumers as to the

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                     source, quality, affiliation, sponsorship or authenticity of the
                     parties’ goods and/or services–depriving Plaintiff of the
                     goodwill established in its BILLY GOAT Mark. Therefore,
                     Defendant has used deceptive acts or practices as described in
                     Section 2 of the Uniform Deceptive Trade Practices Act.

             57.     On information and belief, Defendant deliberately adopted
                     and/or is using THE BILLY GOAT CHIP COMPANY mark
                     with a bad faith intent to cause consumer confusion and/or trade
                     on the goodwill established by Plaintiff since 1934.

      12.    In its common law trademark infringement count, the Claimant alleges the

following in its ¶¶ 66 and 67 in connection with the alleged conduct of BGCC:

             66.     Defendant’s unauthorized use of THE BILLY GOAT CHIP
                     COMPANY mark in connection with its sale of potato chips,
                     and related goods, is likely to cause, and already has caused,
                     confusion, mistake, or deception among consumers as to the
                     source, quality, affiliation, sponsorship or authenticity of the
                     parties’ goods and/or services–depriving Plaintiff of the
                     goodwill established in its BILLY GOAT Mark.

             67.     On information and belief, Defendant deliberately adopted
                     and/or is using THE BILLY GOAT CHIP COMPANY mark
                     with a bad faith intent to cause consumer confusion and/or trade
                     on the goodwill established by Plaintiff since 1934.

                   PROVISIONS OF THE STATE AUTO PRIMARY POLICY

      13.    The State Auto primary policy provides in its Insuring Agreement for “bodily

injury” and “property damage” as follows:

             COVERAGE A BODILY INJURY AND PROPERTY DAMAGE
             LIABLITY

             1.      Insuring Agreement




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              a.    We will pay those sums that the insured becomes legally
                    obligated to pay as damages because of “bodily injury”
                    or “property damage” to which this insurance applies.
                    We will have the right and duty to defend the insured
                    against any “suit” seeking those damages for “bodily
                    injury” or “property damage” to which this insurance
                    does not apply. We may, at our discretion, investigate
                    any “occurrence” and settle any claim or “suit” that may
                    result. But:

                    (1)    The amount we will pay for damages is limited as
                           described in Section III - Limits Of Insurance;
                           and

                    (2)    Our right and duty to defend ends when we have
                           used up the applicable limit of insurance in the
                           payment of judgments or settlements under
                           Coverages A or B or medical expenses under
                           Coverage C.

                    No other obligation or liability to pay sums or perform
                    acts or services is covered unless explicitly provided for
                    under Supplementary Payments - Coverages A and B.

              b.    This insurance applies to “bodily injury” and “property
                    damage” only if:

                    (1)    The “bodily injury” or “property damage” is
                           caused by an “occurrence” that takes place in the
                           “coverage territory”;

                    (2)    The “bodily injury” or “property damage” occurs
                           during the policy period; and

                    (3)    Prior to the policy period, no insured listed under
                           Paragraph 1. of Section II - Who Is An Insured
                           and no “employee” authorized by you to give or
                           receive notice of an “occurrence” or claim, knew
                           that the “bodily injury” or “property damage” had
                           occurred, in whole or in part. If such a listed

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                                      insured or authorized “employee” knew, prior to
                                      the policy period, that the “bodily injury” or
                                      “property damage” occurred, then any
                                      continuation, change or resumption of such
                                      “bodily injury” or “property damage” during or
                                      after the policy period will be deemed to have
                                      been known prior to the policy period.

       14.    The State Auto primary policy provides in its Insuring Agreement for “personal

and advertising injury” as follows:

       COVERAGE B PERSONAL AND ADVERTISING INJURY LIABILITY

              1.     Insuring Agreement

                     a.     We will pay those sums that the insured becomes legally
                            obligated to pay as damages because of “personal and
                            advertising injury” to which this insurance applies. We
                            will have the right and duty to defend the insured against
                            any “suit” seeking those damages. However, we will
                            have no duty to defend the insured against any “suit”
                            seeking damages for “personal and advertising injury” to
                            which this insurance does not apply. We may, at our
                            discretion, investigate any offense and settle any claim or
                            “suit” that may result. But:

                            (1)       The amount we will pay for damages is limited as
                                      described in Section III - Limits Of Insurance;
                                      and

                            (2)       Our right and duty to defend end when we have
                                      used up the applicable limit of insurance in the
                                      payment of judgments or settlements under
                                      Coverages A or B or medical expenses under
                                      Coverage C.

                            No other obligation or liability to pay sums or perform
                            acts or services is covered unless explicitly provided for
                            under Supplementary Payments - Coverages A and B.

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                     b.     This insurance applies to “personal and advertising
                            injury” caused by an offense arising out of your business
                            by only if the offense was committed in the “coverage
                            territory” during the policy period.

       15.    The State Auto primary policy contains various exclusions which are applicable

to the claims of the Claimant which provide, in pertinent part, as follows:

              This insurance does not apply to:

              a.     Knowing Violation Of Rights Of Another

                     “Personal and advertising injury” caused by or at the direction
                     of the insured with the knowledge that the act would violate the
                     rights of another and would inflict “personal and advertising
                     injury”.

                                     *   *    *    *   *

              c.     Material Published Prior To Policy Period

                     ‘Personal and advertising injury” arising out of oral or written
                     publication of material whose first publication took place before
                     the beginning of the policy period.

                                     *   *    *    *   *

              i.     Infringement Of Copyright, Patent, Trademark Or Trade
                     Secret

                     “Personal and advertising injury” arising out of the infringement
                     of copyright, patent, trademark, trade secret or other intellectual
                     property rights.

                     However, this exclusion does not apply to infringement, in your
                     “advertisement”, of copyright, trade dress or slogan.

                                     *   *    *    *   *


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             l.     Unauthorized Use Of Another’s Name Or Product

                    “Personal and advertising injury” arising out of the unauthorized
                    use of another’s name or product in your e-mail address, domain
                    name or metatag, or any other similar tactics to mislead
                    another’s potential customers.

      16.    The State Auto primary policy defines certain terms used in the Insuring

Agreements set forth in ¶¶ 13 and 14 hereof as follows:

             1.     “Advertisement” means a notice that is broadcast or published
                    to the general public or specific market segments about your
                    goods, products or services for the purpose of attracting
                    customers or supporters. For the purposes of this definition:

                    a.     Notices that are published include material placed on the
                           Internet or on similar electronic means of
                           communication; and

                    b.     Regarding web-sites, only that part of a web-site that is
                           about your goods, products or services for the purposes
                           of attracting customers or supporters is considered an
                           advertisement;

                                   *    *    *    *   *

             3.     “Bodily injury” means bodily injury, sickness or disease
                    sustained by a person, including death resulting from any of
                    these at any time.

                                   *    *    *    *   *

             13.    “Occurrence” means an accident, including continuous or
                    repeated exposure to substantially the same general harmful
                    conditions.

             14.    “Personal and advertising injury” means injury, including
                    consequential “bodily injury,” arising out of one or more of the
                    following offenses:

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               a.     False arrest, detention or imprisonment;

               b.     Malicious prosecution;

               c.     The wrongful eviction from, wrongful entry into, or
                      invasion of the right of private occupancy of a room,
                      dwelling or premises that a person occupies, committed
                      by or on behalf of its owner, landlord or lessor;

               d.     Oral or written publication, in any manner, of material
                      that slanders or libels a person or organization or
                      disparages a person’s or organization’s goods, products
                      or services;

               e.     Oral or written publication, in any manner, of material
                      that violates a person’s right of privacy;

               f.     The use of another’s advertising idea in your
                      “advertisement”; or

               g.     Infringing upon another’s copyright, trade dress or
                      slogan in your “advertisement”.

                              *    *     *      *   *

        17.    “Property damage” means:

               a.     Physical injury to tangible property, including all
                      resulting loss of use of that property. All such loss of use
                      shall be deemed to occur at the time of the physical
                      injury that caused it; or

               b.     Loss of use of tangible property that is not physically
                      injured. All such loss of use shall be deemed to occur at
                      the time of the “occurrence” that caused it.

               For the purposes of this insurance, electronic data is not tangible
               property.


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                       As used in this definition, electronic data means information,
                       facts or programs stored as or on, created or used on, or
                       transmitted to or from computer software, including systems and
                       applications software, hard or floppy disks, CD-ROMS, tapes,
                       drives, cells, data processing devices or any other media which
                       are used with electronically controlled equipment.

                    PROVISIONS OF THE STATE AUTO UMBRELLA POLICY

       17.    The State Auto umbrella policy provides in its Insuring Agreements for “bodily

injury” and “property damage” as follows:

              (3)      We have a right and duty to defend the insured against any
                       “suits” to which this insurance applies:

                       (a)    But which are not covered by any “underlying insurance”
                              shown in the Declarations or by any other primary
                              policies that may apply; or

                       (b)    If the applicable limit of “underlying insurance” is
                              exhausted.

                       However, we will have no duty to defend the insured against any
                       “suits” seeking damages for “bodily injury” or “property
                       damage” to which this insurance does not apply;

The State Auto umbrella policy provides a similar Insuring Agreement for “personal and

advertising injury.”

       18.    The State Auto umbrella policy contains various exclusions which are

applicable to the claims of the Claimant which provide in Exclusions a.(1), (3), (9), and (12),

as follows:

              2.       Exclusions

                       This insurance does not apply to:

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               a.    “Personal and advertising injury”

                     (1)    Knowing Violation Of Rights Of Another

                            Caused by or at the direction of the insured with
                            the knowledge that the act would violate the
                            rights of another and would inflict “personal and
                            advertising injury;”

                             *   *     *      *   *

                     (3)    Material Published Prior To Policy Period

                            Arising out of oral or written publication of
                            material whose first publication took place before
                            the beginning of the policy period;

                             *   *     *      *   *

                     (9)    Infringement Of Copyright,                  Patent,
                            Trademark Or Trade Secret

                            Arising out of the infringement of copyright,
                            patent, trademark, trade secret or other intellectual
                            property rights.
                            However, this exclusion does not apply to
                            infringement, in your “advertisement,” of
                            copyright, trade dress or slogan.

                             *   *     *      *   *

                     (12)   Unauthorized Use Of Another’s Name Or
                            Product

                            Arising out of the unauthorized use of another’s
                            name or product in your e-mail address, domain
                            name or metatag, or any other similar tactics to
                            mislead another’s potential customers.




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       19.    The State Auto umbrella policy defines the terms “bodily injury,” “property

damage,” “personal and advertising injury,” “advertisement,” and “occurrence” in a manner

similar to the State Auto primary policy set forth in ¶ 16.

                                   TENDER OF DEFENSE

       20.    BGCC tendered its defense to State Auto, and State Auto accepted that tender

subject to reservation for the reasons stated herein.

                               COUNT I
       (DECLARATORY JUDGMENT RE: NO DUTY TO DEFEND PRIMARY POLICY)

       21.    State Auto adopts and repeats the allegations of ¶¶ 1 through 16 and ¶ 20 as

and for ¶ 21 hereof as though the same were fully set forth herein.

       22.    While the State Auto primary policy, Pleading Exhibit A, extends coverage to

an insured for “bodily injury,” “property damage,” and “personal and advertising injury,” as

defined therein, the claims in the underlying action by the Claimant are not covered by the

primary policy of insurance.

       23.    State Auto contends that it has no duty or obligation to defend BGCC in

connection with the claims made against it by the Claimant for one or more or all of the

following reasons:

              (a)    That the Complaint does not allege “bodily injury” as defined by

                     the policy of insurance.

              (b)    That the Complaint does not allege “property damage” as

                     defined by the policy of insurance.

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        (c)    That the Complaint does not allege “personal and advertising

               injury” as defined by the policy of insurance.

        (d)    That the Complaint does not allege an “occurrence” as defined

               by the policy of insurance.

        (e)    The Complaint seeks damages for “personal and advertising

               injury” arising out of trademark infringement and trademark

               infringement is excluded from coverage.

        (f)    The Complaint seeks damages for “personal and advertising

               injury” which was caused by or at the direction of the insured

               with the knowledge that it would violate the rights of another

               and would inflict “personal and advertising injury” under the

               policy.

        (g)    The Complaint seeks damages for “personal and advertising

               injury” arising out of publication of material whose first

               publication took place before the beginning of the policy period

               on February 5, 2016.

        (h)    The Complaint seeks damages for “personal and advertising

               injury” arising out of the unauthorized use of the Claimant’s

               name in order to mislead another’s potential customers.




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              (i)     The Complaint seeks injunctive relief in connection with

                      BGCC’s conduct which does not involve an enumerated offense

                      under “personal and advertising injury” as defined by the policy

                      of insurance.

        24.   The above contentions of State Auto are, on information and belief, denied by

BGCC which, in turn, contends that it is entitled to coverage under the State Auto primary

policy of insurance. State Auto, in turn, denies, the contrary contentions of BGCC and each

of them.

        25.   By reason of the foregoing, an actual and justiciable controversy exists between

the parties and each of them, which may be determined by a judgment or order of this Court.

Pursuant to the terms and provisions of 28 U.S.C. §§ 2201 and 2202, this Court has the

power to declare and adjudicate the rights and liabilities of the parties hereto under the terms

and provisions of the policy of insurance referred to herein, and to adjudicate the final rights

of all parties and to give such other and further relief as may be necessary to enforce the

same.

                                 COUNT II
        (DECLARATORY JUDGMENT RE: NO DUTY TO DEFEND UMBRELLA POLICY)

        26.   State Auto adopts and repeats the allegations of ¶¶ 1 through 12 and ¶¶ 17

through 20 as and for ¶ 26 hereof as though the same were fully set forth herein.

        27.   While the State Auto umbrella policy, Pleading Exhibit B, extends coverage

to an insured for “bodily injury,” “property damage,” and “personal and advertising injury,”

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as defined therein, the claims in the underlying action by the Claimant are not covered by the

umbrella policy of insurance.

       28.    State Auto contends that it has no duty or obligation to defend BGCC in

connection with the claims made against it by the Claimant for one or more or all of the

following reasons:

              (a)    That the Complaint does not allege “bodily injury” as defined by

                     the policy of insurance.

              (b)    That the Complaint does not allege “property damage” as

                     defined by the policy of insurance.

              (c)    That the Complaint does not allege “personal and advertising

                     injury” as defined by the policy of insurance.

              (d)    That the Complaint does not allege an “occurrence” as defined

                     by the policy of insurance.

              (e)    The Complaint seeks damages for “personal and advertising

                     injury” arising out of trademark infringement and trademark

                     infringement is excluded from coverage.

              (f)    The Complaint seeks damages for “personal and advertising

                     injury” which was caused by or at the direction of the insured

                     with the knowledge that it would violate the rights of another




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                      and would inflict “personal and advertising injury” under the

                      policy.

              (g)     The Complaint seeks damages for “personal and advertising

                      injury” arising out of publication of material whose first

                      publication took place before the beginning of the policy period

                      on February 5, 2016.

              (h)     The Complaint seeks damages for “personal and advertising

                      injury” arising out of the unauthorized use of the Claimant’s

                      name in order to mislead another’s potential customers.

              (i)     The Complaint seeks injunctive relief in connection with

                      BGCC’s conduct which does not involve an enumerated offense

                      under “personal and advertising injury” as defined by the policy

                      of insurance.

       29.    The above contentions of State Auto are, on information and belief, denied by

BGCC which, in turn, contends that it is entitled to coverage under the State Auto policy of

insurance. State Auto, in turn, denies, the contrary contentions of BGCC and each of them.

       30.    By reason of the foregoing, an actual and justiciable controversy exists between

the parties and each of them, which may be determined by a judgment or order of this Court.

Pursuant to the terms and provisions of 28 U.S.C. §§ 2201 and 2202, this Court has the

power to declare and adjudicate the rights and liabilities of the parties hereto under the terms


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and provisions of the policy of insurance referred to herein, and to adjudicate the final rights

of all parties and to give such other and further relief as may be necessary to enforce the

same.

                                   PRAYERS FOR RELIEF

        WHEREFORE, the Plaintiff, State Auto Property and Casualty Insurance Company,

prays that this Court enters judgment finding and declaring the rights of the parties as

follows:

                                      AS TO COUNT I:

        A.    That State Auto Property and Casualty Insurance Company has no duty

              or obligation to provide a defense to Billy Goat Chip Company LLC for

              the action filed in the United States District Court for the Northern

              District of Illinois, Eastern Division, under Cause No. 17 C 9154, under

              its Businessowners Liability policy of insurance numbered

              BOP 2866205-00.

        B.    That the Court grant State Auto Property and Casualty Insurance

              Company such other and further relief as the Court deems fit and just

              under the circumstances.

        C.    That State Auto Property and Casualty Insurance Company be awarded

              and have and recover its just and reasonable costs incurred herein and

              have execution issue therefor.


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                               AS TO COUNT II:

  A.    That State Auto Property and Casualty Insurance Company has no duty

        or obligation to provide a defense to Billy Goat Chip Company LLC for

        the action filed in the United States District Court for the Northern

        District of Illinois, Eastern Division, under Cause No. 17 C 9154, under

        its Commercial Umbrella Liability policy of insurance numbered

        CXS 2135754-00.

  B.    That the Court grant State Auto Property and Casualty Insurance

        Company such other and further relief as the Court deems fit and just

        under the circumstances.

  C.    That State Auto Property and Casualty Insurance Company be awarded

        and have and recover its just and reasonable costs incurred herein and

        have execution issue therefor.


                                              /s/ Robert Marc Chemers
                                              Robert Marc Chemers
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